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        EXHIBIT 10
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                    Executive Order 14237 of March 14, 2025

                    Addressing Risks From Paul Weiss


                    By the authority vested in me as President by the Constitution and the
                    laws of the United States of America, it is hereby ordered:
                       Section 1. Background. Global law firms have for years played an outsized
                    role in undermining the judicial process and in the destruction of bedrock
                    American principles. Many have engaged in activities that make our commu­
                    nities less safe, increase burdens on local businesses, limit constitutional
                    freedoms, and degrade the quality of American elections. Additionally, they
                    have sometimes done so on behalf of clients, pro bona, or ostensibly "for
                    the public good"-potentially depriving those who cannot otherwise afford
                    the benefit of top legal talent the access to justice deserved by all. My
                    Administration will no longer support taxpayer funds sponsoring such harm.
                    My Administration has already taken action to address some of the significant
                    risks and egregious conduct associated with law firms, and I have determined
                    that similar action is necessary to end Government sponsorship of harmful
                    activity by an additional law firm: Paul, Weiss, Rifk.ind, Wharton & Garrison
                    LLP (Paul Weiss). In 2021, a Paul Weiss partner and former leading prosecutor
                    in the office of Special Counsel Robert Mueller brought a pro bono suit
                    against individuals alleged to have participated in the events that occurred
                    at or near the United States Capitol on January 6, 2021, on behalf of the
                    District of Columbia Attorney General.
                    In 2022, Paul Weiss hired unethical attorney Mark Pomerantz, who had
                    previously left Paul Weiss to join the Manhattan District Attorney's office
                    solely to manufacture a prosecution against me and who, according to his
                    co-workers, unethically led witnesses in ways designed to implicate me.
                    After being unable to convince even Manhattan District Attorney Alvin
                    Bragg that a fraud case was feasible, Pomerantz engaged in a media campaign
                    to gin up support for this unwarranted prosecution.
                    Additionally, Paul Weiss discriminates against its own employees on the
                    basis of race and other categories prohibited by civil rights laws. Paul
                    Weiss, along with nearly every other large, influential, or industry leading
                    law firm, makes decisions around "targets" based on race and sex. My
                    Administration is committed to ending such unlawful discrimination per­
                    petrated in the name of "diversity, equity, and inclusion" policies and
                    ensuring that Federal benefits support the laws and policies of the United
                    States, including those laws and policies promoting our national security
                    and respecting the democratic process. Those who engage in blatant discrimi­
                    nation and other activities inconsistent with the interests of the United
                    States should not have access to our Nation's secrets nor be deemed respon­
                    sible stewards of any Federal funds.
                    Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
                    of National Intelligence, and all other relevant heads of executive departments
                    and agencies (agencies) shall immediately take steps consistent with applica­
                    ble law to suspend any active security clearances held by individuals at
                    Paul Weiss and Mark Pomerantz, pending a review of whether such clear­
                    ances are consistent with the national interest.
                      (b) The Office of Management and Budget shall identify all Government
                    goods, property, material, and services, including Sensitive Compartmented
                    Information Facilities, provided for the benefit of Paul Weiss. The heads
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                            of all agencies providing such material or services shall, to the extent per­
                            mitted by law, expeditiously cease such provision.
                            Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
                            contractors whose earnings subsidize, among other things, activities that
                            are not aligned with American interests, including racial discrimination,
                            Government contracting agencies shall, to the extent permissible by law,
                            require Government contractors to disclose any business they do with Paul
                            Weiss and whether that business is related to the subject of the Government
                            contract.
                               (b) The heads of all agencies shall review all contracts with Paul Weiss
                            or with entities that disclose doing business with Paul Weiss under subsection
                            (a) of this section. To the extent permitted by law, the heads of agencies
                            shall:
                               (i) take appropriate steps to terminate any contract, to the maximum
                              extent permitted by applicable law, including the Federal Acquisition
                               Regulation, for which Paul Weiss has been hired to perform any service;
                              (ii) otherwise align their agency funding decisions with the interests of
                              the citizens of the United States; with the goals and priorities of my
                              Administration as expressed in executive actions, especially Executive
                              Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                              Government); and as heads of agencies deem appropriate. Within 30 days
                              of the date of this order, all agencies shall submit to the Director of
                              the Office of Management and Budget an assessment of contracts with
                              Paul Weiss or with entities that do business with Paul Weiss effective
                              as of the date of this order and any actions taken with respect to those
                              contracts in accordance with this order.
                            Sec. 4. Racial Discrimination. Nothing in this order shall be construed
                            to limit the action authorized by section 4 of Executive Order 14230 of
                            March 6, 2025 (Addressing Risks from Perkins Coie LLP).
                            Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted
                            by law, provide guidance limiting official access from Federal Government
                            buildings to employees of Paul Weiss when such access would threaten
                            the national security of or otherwise be inconsistent with the interests of
                            the United States. In addition, the heads of all agencies shall provide guidance
                            limiting Government employees acting in their official capacity from engaging
                            with Paul Weiss employees to ensure consistency with the national security
                            and other interests of the United States.
                               (b) Agency officials shall, to the extent permitted by law, refrain from
                            hiring employees of Paul Weiss, absent a waiver from the head of the
                            agency, made in consultation with the Director of the Office of Personnel
                            Management, that such hire will not threaten the national security of the
                            United States.
                            Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                            to impair or otherwise affect:
                               (i) the authority granted by law to an executive department or agency,
                              or the head thereof; or
                              (ii) the functions of the Director of the Office of Management and Budget
                              relating to budgetary, administrative, or legislative proposals.
                              (b) This order shall be implemented consistent with applicable law and
                            subject to the availability of appropriations.
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                                       (c) This order is not intended to, and does not, create any right or benefit,
                                     substantive or procedural, enforceable at law or in equity by any party
                                     against the United States, its departments, agencies, or entities, its officers,
                                     employees, or agents, or any other person.




                                     THE WHITE HOUSE,
                                     March 14, 2025.


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